      Case 11-31352 Doc 10-1 Filed 08/05/11 Entered 08/05/11 16:22:27               Desc
                Statement Accompanying Relief From Stay Page 1 of 1

                                 REQUIRED STATEMENT TO ACCOMPANY
                                   MOTIONS FOR RELIEF FROM STAY

     All Cases: Debtors LEVID & LISA M. VEGA     Case No. 11B31352     Chapter 7

     All Cases: Moving Creditor: Wachovia Mortgage, FSB fka World Savings Bank, FSB / Wells
     Fargo Bank, N.A. Date Case Filed: July 30, 2011

     Nature of Relief Sought:      Lift Stay      □ Annul Stay     □ Other (describe)

     Chapter 7: □ No-Asset Report Filed on -
                  No-Asset Report not Filed, Date of Creditors Meeting September 6, 2011

     1.   Collateral:
           a.         Home
           b.      □ Car ____                        Year, Make and Model_____________
           c.      □ Other _________________________________________________________

     2.   Balance Owed as of August 5, 2011: $286,611.86
          Total of all other Liens against Collateral $-


     3.   In chapter 13 cases, if a post-petition default is asserted in the motion, attach
          a payment history listing the amounts and dates of all payments received from the
          debtor(s) post-petition.

     4. Estimated Value of Collateral (must be supplied in all cases): $172,000.00

     5. Default:
               a.     Contractually
                    Number of months: 19 Amount: $38,100.11

               b.    □ Post-Petition Default:
                     i. □ On direct payments to the moving creditor
                          Number of months: -Amount: $-
                    ii. □ On payments to the Standing Chapter 13 Trustee
                          Number of months: - Amount: $-

     6. Other Allegations:
               a. □ Lack of Adequate Protection §362(d)(1)
                  i.       □ No Insurance ____
                  ii.      □ Taxes unpaid ____       Amount $_______
                  iii.     □ Rapidly depreciating asset _____
                  iv.      □ Other (describe) ____

               b.      No equity and not Necessary for an Effective Reorganization §362(d)(2)

              c. □ Other “Cause” §362(d)(1):
                 i.       □ Bad Faith ____________
                ii.       □ Multiple Filings ________
                iii.        Other (describe) Material Payment Default

               d.   Debtor’s Statement of Intention regarding the Collateral
                      i.   □ Reaffirm          ii. □ Redeem
                      iii.   Surrender         iv. □ No Statement of Intention Filed


Date: August 5, 2011                               By: /s/Lydia Y. Siu
                                                   Lydia Y. Siu
                                                   ARDC#6288604
                                                   Pierce & Associates, P.C.
                                                   Counsel for movant
